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Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

VS. Criminal Case No.: 24-cr-61 (RBW)

MATTHEW NORMAN BALLEK

meee ee

WAIVER OF INDICTMENT

I, Matthew Norman Ballek , the above-named defendant, who is accused of

Possession of Child Pornography, in violation of 18 U.S.C. § 2252(a)(4)(B)
and (b)(2)

being advised of the nature of the charge(s), the proposed information, and of my rights, hereby

waive in open court on October 4, 2024 prosecution by indictment and consent that

the proceeding may be by information rather than by indictment.

x
i i

Defendant

White

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Counsel for Defendant

Before: YY /) Lie | ) Date: tof4[2 po

Reggie B. Walton

United States District Judge
